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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  UNITED STATES, et al.,

                        Plaintiffs,

         v.
                                                        No. 1:23-cv-00108-LMB-JFA
  GOOGLE LLC,

                        Defendant.


          NON-PARTY ADOBE INC.’S MOTION AND SPECIFIC OBJECTIONS
         WITH PROPOSED REDACTIONS TO THE PARTIES’ TRIAL EXHIBITS

        Pursuant to the Court’s June 24, 2024 Pretrial Scheduling Order providing that “[a]ny party

 or non-party who objects to the public use of confidential documents or testimony must file a

 specific objection with a proposed acceptable redaction of the information,” ECF No. 871, and

 Local Civil Rule 5(C), Non-Party Adobe Inc. (“Adobe”), through undersigned counsel, respectfully

 requests that the Court grant its objections and proposed redactions, and order Google to keep

 under seal DTX 386, DTX 508, DTX 1015, DTX 2122, DTX 2123, and DTX 2124, and redact

 DTX 1839, DTX 1891, DTX 1892, DTX 1893, DTX 1943, DTX 1955, DTX 1982, DTX 1991, and

 Appendix Sections X.A and X.B to the Israel Report. Adobe further requests that the Court order

 DOJ to redact PTX 1308, PTX 1309, PTX 1388, PTX 1389, PTX 1432, PTX 1433, PTX 1434, and

 PTX 1435. These exhibits contain information that Adobe designated as Highly Confidential under

 the Protective Order, ECF No. 203. The grounds for this motion are contained in the supporting

 memorandum of law filed concurrently with this motion, and a proposed order is attached for the

 Court’s convenience.




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  Dated: July 26, 2024               Respectfully submitted,

                                     /s/ Dorothea R. Allocca                .
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